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Proposed Attorney for the Debtor

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                           Chapter 11


        16TH STREET REGENCY LLC,                                 Case No. 14-46104 - NHL


                                             Debtor.
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 ORDER TO SHOW CAUSE TO CONSIDER THE DEBTOR’S APPLICATION FOR (1)
  AN ORDER PURSUANT TO SECTIONS 105, 361 AND 363 OF THE BANKRUPTCY
      CODE AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 4001(b)
  AUTHORIZING THE INTERIM USE OF CASH COLLATERAL NUNC PRO TUNC
     AND (2) SHORTENING TIME AND SETTING NOTICE REQUIREMENTS

        Upon (a) the application (the “Cash Collateral Application”) of the above-captioned

Debtor, by its proposed counsel, the Carlebach Law Group, seeking entry of (i) an order to show

cause to consider a further order authorizing the Debtor to use Cash Collateral (as defined in the

Cash Collateral Application) of Tissa 16th Corp. (as further defined below “Tissa”) nunc pro tunc

pending an interim hearing, (ii) an interim hearing to consider the use of Cash Collateral in

accordance with the budget (the “Budget”) annexed to the Cash Collateral Application as Exhibit

D pursuant to an interim order, (iii) a hearing to consider entry of a final order authorizing the

use of Cash Collateral in accordance with the Budget and (iv) entry of a final order authorizing
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use of Cash Collateral and (b) the Affirmation of David Carlebach, dated December 18, 2014

(the “Affirmation”), it is

        ORDERED, that a hearing will be held on December ___, 2014, at _____ __.m., at the

United States Bankruptcy Court for the Eastern District of New York, Conrad B. Duberstein

Courthouse, 271-C Cadman Plaza East – the Honorable Nancy Hershey Lord, Courtroom 3577,

Brooklyn, NY 11201-1800, all parties in interest in this case shall show cause why the Cash

Collateral Application should not be granted and it is further

        ORDERED, that service of this Order and the Cash Collateral Application, together with

all exhibits annexed thereto, upon (a) the Debtor's twenty (20) largest creditors, by their counsel,

if known, (b) the Debtor’s secured creditors, by their counsel, if known, (c) all parties who have

filed notice of appearances in this case, and (d) the U.S. Trustee, on or before the ___ day of

December, 2014, by overnight courier, fax, or electronic mail service in compliance with this

Order shall be deemed sufficient service and notice of the Cash Collateral Application and this

Order; and it is further;

        ORDERED, that any responsive papers shall be served so as to be received by the

Debtor’s proposed counsel, the Law Offices of David Carlebach, Esq., 55 Broadway, Suite 1902,

New York, New York 10006, Attn: David Carlebach, Esq; Robinson Brog Leinwand Greene

Genovese & Gluck P.C., 875 Third Avenue, 9th Floor, New York, New York 10022-0123, Attn:

Robert M. Sassloff, Esq.; and the Office of the United States Trustee, Eastern District of New

York (Brooklyn Office), U.S. Federal Office Building, 201 Varick Street, Suite 1006, New York,

NY 10014, and filed with this Court with a courtesy copy delivered to chambers not later than

4:00 p.m. on December ___, 2014, and it is further




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       ORDERED, that pending the hearing and determination of the Cash Collateral

Application, the Debtor’s use of Cash Collateral is authorized pursuant to §363(c)(2) of the

Bankruptcy Code and Rule 4001(b) of the Federal Rules of Bank. P., subject to the adequate

protections set forth in the Interim Order annexed as Exhibit A to the Cash Collateral

Application, through and including the date of the hearing and determination of the Cash

Collateral Application.

Dated: New York, New York
       December    , 2014




                                          __________________________________________
                                          NANCY HERSHEY LORD
                                          UNITED STATES BANKRUPTCY JUDGE




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